         Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 1 of 14



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
 JASON SALTZ

               Plaintiff                        Case No.:
 v.                                             20-cv-00831-ELH

 CITY OF FREDERICK, MARYLAND

               Defendant


           AFFIDAVIT OF SERVICE OF PROCESS ON ALL DEFENDANTS



I hereby affirm under the penalties of perjury that I am not a party herein and am at
least 18 years of age, and that I served process in this case as follows:
Persons Served                             Date Served
City of Frederick, Maryland                April 20, 2020
Edward Hargis
Patrick Grossman
Dwight Sommers
John S. Corbett
Tracey Wiles

Documents Served
(1) Summonses issued 03/31/2020; (2) Complaint; (3) Civil Cover Sheet; (4) Plaintiff’s
Disclosure of Corporate Interest

Method of Service
Email to attorney for all defendants by agreement. More fully:
By email April 17, 2020, Kevin Karpinski, Esquire, of Karpinski, Colaresi & Karp, P.A.,
120 East Baltimore Street, Suite 1850, Baltimore, Maryland 21202-1617, 410-727-5000,
kevin@bkcklaw.com, advised that he was retained to represent all defendants in this
case and was authorized to accept service of process.
In a telephone call April 20, 2020, Mr. Karpinski agreed to accept service by email.
On April 20, 2020, I emailed Mr. Karpinski service packets for each defendant
(documents listed above), and Mr. Karpinski confirmed receipt.
Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 2 of 14
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 3 of 14


                      Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 1 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

                                                                 )
                                                                 )
                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           CITY OF FREDERICK, MARYLAND
                                           Serve: Michael O’Connor, Mayor
                                           101 North Court St
                                           Frederick MD 21701-5415

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:      3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 4 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 2 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 5 of 14


                      Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 3 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

                                                                 )
                                                                 )
                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           EDWARD HARGIS
                                           2243 W Greenleaf Dr
                                           Frederick MD 21702-2625


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 6 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 4 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 7 of 14


                      Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 5 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

                                                                 )
                                                                 )
                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           PATRICK GROSSMAN
                                           100 W Patrick St
                                           Frederick MD 21701-5513


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:      3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 8 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 6 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 9 of 14


                      Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 7 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

                                                                 )
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                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           DWIGHT SOMMERS
                                           100 W Patrick St
                                           Frederick MD 21701-5513


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 10 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 8 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
               Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 11 of 14


                      Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 9 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

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                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           JOHN S. CORBETT
                                           100 W Patrick St
                                           Frederick MD 21701-5513


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:      3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 12 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 10 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
               Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 13 of 14


                     Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 11 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                 __________ District of __________

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                                                                 )
 Jason Saltz                                                     )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. ELH-20-831
                                                                 )
                                                                 )
                                                                 )
                                                                 )
City of Frederick, Maryland, et al.                              )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           TRACEY WILES
                                           100 W Patrick St
                                           Frederick MD 21701-5513


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Sean R. Day, Attorney at Law
                                           7474 Greenway Center Dr Ste 150
                                           Greenbelt MD 20770-3524


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:      3/31/2020
                                                                                     Signature of Clerk or Deputy Clerk
                Case 1:20-cv-00831-ELH Document 6 Filed 04/21/20 Page 14 of 14


                       Case 1:20-cv-00831-ELH Document 3 Filed 03/31/20 Page 12 of 12
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
